          Case 1:21-cr-00026-CRC Document 5 Filed 01/21/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )                Crim. No. 21mj10
                                    )
CHISTOPHER ALBERTS,                 )
      Defendant.                    )
____________________________________)

                           NOTICE OF ATTORNEY APPEARANCE

       Please note the appearance of undersigned as counsel for Defendant Christopher Alberts

in substitution of appointed counsel AFPD Tony Miles.

                                                     Respectfully Submitted,

                                                     CHRISTOPHER ALBERTS
                                                     By Counsel

                                                     _____/s/____________
                                                     John C. Kiyonaga

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                                                     Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on January 21, 2021, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties.

                                                     ____/s/_____________
                                                     John C. Kiyonaga




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